Case 1:20-cv-10484-GAO Document 66-11 Filed 11/01/22 Page 1 of 4
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Case 1:20-cv-10484-GAO Document 66-11 Filed 11/01/22 Page 2 of 4

 

 

VOLUME I
PAGES: 1 - 41
EXHIBITS: 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

EDWARD SULLIVAN, HEATHER
SULLIVAN, DOE CHILD 1,

DOE CHILD 2, DOE CHILD 3 and

DOE CHILD 4,
Plaintiffs,

VS.

THE TOWN OF WALPOLE, MA.,
WALPOLE POLICE DEPARTMENT,
CHIEF JOHN F. CARMICHAEL,
JR., OFFICER ANDREW
KIEWLICZ, DET. MICHAEL
BENNER, DET. SGT. RICHARD
KELLEHER, OFFICER THOMAS
HART, DET. KYLE GRIFFIN,
OFFICER MATTHEW CROWN, AND
OTHER NAMES UNKNOWN TO THE
PLAINTIFFS AT THIS TIME,
WALPOLE SCHOOL DEPARTMENT,
VICE PRINCIPAL LEE TOBEY,

AND OTHERS AS YET UNKNOWN TO

THE PLAINTIFFS,
Defendants.

 

C.A. NO. 1:20-CV-10484-GAO

REMOTE DEPOSITION OF SP SULLIVAN, taken on
behalf of the Defendants, pursuant to the applicable
provisions of the Federal Rules of Civil Procedure,
appearing remotely before Ariane L. Baker, Certified
Shorthand Reporter and Notary Public within and for the
Commonwealth of Massachusetts, appearing remotely from
Plymouth County, Massachusetts, on February 23, 2022,

commencing at 10:05 a.m.

 

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Case 1:20-cv-10484-GAO Document 66-11

SULLIVAN

Filed 11/01/22 Page 3 of 4
February 23, 2022

 

 

 

 

Page 21 Page 23
1 the car, and -- and we drove to my grandmother's house. 1 get to your grandmother's house?
2 Q. Okay. And when you got in the car, did your 2 A. Yeah. | think she was there when I got home.
3 grandmother say why she was picking you up? 3 Q. Okay.
4 A. No. She was just arguing with my sister ia. 4 A. Yes.
5 Q. Okay. Do you remember what she was arguing with 5 Q. And you said you had pizza at some point?
6  Rabout? 6 A. Yes.
7 A. No. They said like something about like our 7 Q. Do you remember what kind of pizza you had?
8 parents or something. | don't know. 8 A. Cheese.
9 Q. Okay. Do you remember what iislooked like? 9 Q. Cheese. Okay.
10 Was jj angry? Was she sad? Do you remember how she 10 And did you go home after you had the pizza or
i1 was -- what she looked like she was feeling? 11 did you wait a little bit longer?
12 A. | think it was like mixed, like sort of like -- 12 A. Yeah. We went home like about two hours -- two
13 Well, | didn't know like what she was angry or sad for 13 hours after or maybe an hour and a half.
14 because I had no idea what happened. 14 Q. Okay. Do you remember what you did besides have
15 Q. Okay. And once you got to your grandmother's 15 pizza at your grandmother's house?
16 house, how long did you stay at your grandmother's house? 16 A. Well, | did some of my homework and -- yeah,
Ad: A. Probably about like five hours. Li because | didn't do it in the office.
18 Q. Okay. And do you go to your grandmother's house 18 Q. Okay. And when you got home, did your mom talk
19 often? 19 to you at all about why you were at your grandmother's
20 A. Yeah, because it's only about ten minutes -- five 20 house?
21 minutes away from us. 21 A. No. We went like -- Because we were there like
22 Q. And what did you do when you went to your 22 late, so like we went to bed pretty soon.
23 grandmother's house? 23 Q. Okay. And did you have a hard time sleeping that
24 A. My -- My aunt and my cousin was there. And my 24 night?
Page 22 Page 24
1 cousins live with my grandmother, but -- so they were il A. No. Not really because -- Oh, yes, | did,
2 there, and -- and my aunt was there and her daughter, but | 2 because my -- because they like sort of accused me of like
3 didn't know why they were there. 3 throwing a water bottle on my sister --
4 Q. Okay. Was it your Aunt Tara that was there? 4 Q. Okay.
5 A. Yes. 5 A. -- or dropping it on her.
6 Q. Okay. And what did you do when you got to your 6 Q. Okay. And when you say "they,” do you know who
7 grandmother's house? Did you do homework? Did you eat? 7 said that you dropped a water bottle on your sister?
8 A. Well, | just like -- Well, for the most part of 8 A. No. [don't know who.
9 it, | don't really remember, but | remember like when it 9 Q. Okay. Do you remember who told you that that's
10 was about 6, we ordered a pizza, and my mom's cousin, | 10 what they thought you did?
11 think it was, came in and like gave my sister a lie 11 A. Well, my -- Well, my aunt said that like -- that
12 detector test or something. 12 like -- When | was upset about what happened, she was like,
13 Q. You say your mom's cousin. Do you know your 13 No, it's -- like it's okay because they thought that you
14 mom's cousin's first name? 14 dropped the water bottle on your sister or something.
15 A. It -- 1 think it's Greg. 15 Q. Okay. And did that upset you that someone
16 Q. Okay. Your dad's signaling to you because he's 16 thought you did that?
17 not allowed to help you answer the question. 17 A. Yeah. It kind of made me stressed, like | was in
18 A. Oh. 18 trouble or something.
19 Q. That's okay. And like | said, your only job here 19 Q. Okay. And did you drop a water bottle on your
20 today is to, you know, do your best to -- to remember. If 20 sister that --
21 there’s something you don't remember, it's okay to say I 21. A. No.
22 don't remember or I think that's what it is, but I'm not 22 Q. -- that you remember?
23 really sure. You can say that too. Okay. 23 A. No.
24 At any point in time, was your -- did your mom 24 Q. Okay. Do you ever keep a water bottle next to

 

 

Pages 21 to 24

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Case 1:20-cv-10484-GAO Document 66-11

“SRR SULLIVAN

Filed 11/01/22 Page 4 of 4

February 23, 2022

 

 

 

 

Page 25 Page 27
1 you on your bunk bed? 1 Q. Okay.
2 A. No. 2 A. | mean, sometimes like -- like there's like a
3 Q. Do you have your own -- 3 resources officer that like comes in and like chills out
4 A. | keep like a plastic water bottle in my bed in 4 around the school sometimes like before and after school.
5 case | get thirsty. 5 Q. Okay. Do you know that police officer's name?
6 Q. Okay. All right. And the next morning -- Did 6 A. Yes. It's Officer Hart.
7 you go to school the next day? Do you remember? 7 Q. Officer Hart?
8 A. Yes. My -- My Aunt Tara came home -- | mean, she 8 A. Yeah.
9 came to -- she came to like get us on the bus because my 9 Q. Have you ever talked to Officer Hart?
10 mom was like at court, | think, with my dad. 10 A. Yeah. Like sometimes like when | was younger, he
11 Q. Okay. And did you stay at school the whole day? del. like would bring his dog in, and then like people will be
12 A. Yes. 12 all over him like patting him.
13 Q. Did -- 13 Q. Okay. Do you like dogs?
14 A. It was kind of a normal day. 14 A. Yes. | have three dogs at home.
15 Q. I'm sorry? 15 Q. What are your dogs' names?
16 A. It was pretty normal that day. 16 A. Bailey, Brody, and Penny.
17 Q. Okay. Didi go to school with you on the 17 Q. Okay. Do you know what kind of dogs they are?
18 bus as well? 18 A. Yeah. | have two Saint Bernards and one mutt.
19 A. Uh-huh. 19 Q. Oh, okay. And when you see Officer Hart now,
20 Q. Okay. 20 does he still have that same dog with him?
21 A. |mean yes. 21 A. Yeah. He -- He like does that all the time. He
22 Q. Thank you. And do you remember what day of the 22 like comes into our school and like -- Like last year, he
23 week that was? 23 gave us like — he came into my classroom and like -- |
24 A. It was Friday. 24 think he did it in everyone's classroom when | was -- And
Page 26 Page 28
a Q. Okay. And did you go back to school the next i he -- Last year, he -- he like gave us a slide slow show on
2 week? 2 like how to be safe like. And this year, like about two
3 A. Yes, because it was the week after the next -- 3 months ago, he like came in like for tech class and said --
4 Like after the -- We -- | mean, so when it happened, | went 4 and gave us like another slide show about like how to be
5 to school for another week having like a hard time and 5 safe on social media.
6 stuff like, and then -- and then | like didn't go to school 6 Q. Okay. Are you on social media?
7 or I think it was like on the last day of the week that | 7 A. Yes. | have Snapchat like on my phone like so |
8 had a hard time. 8 can like text my friends.
9 Q. Okay. So maybe on Friday -- You remember having 9 Q. Okay. And when you see --
10 a hard time on a Friday at some point? 10 A. That's the only social media | have.
11 A. Yeah. 11 Q. When you see Officer Hart at school with the dog,
12 Q. Okay. 12 do you get excited to see the dog now?
13 A. [| mean, no. But Thursday -- Like that whole 13 A. No. Like | never -- Like | never really did pat
14 week, it was tough. 14 the dog, except for when I was like in kindergarten or like
15 Q. Okay. And was there something about being at 15 first grade.
16 school that made -- made you have a hard time or was it 16 Q. Okay. All right. Does seeing Officer Hart at
17 something else? 17 school make you feel nervous or scared?
18 A. It was like -- It was kind of like -- like my 18 A. Yeah. Like it kind of makes me mad because
19 dad, that he -- like that he -- like what they did and 19 like -- like -- because it's kind of like fake and — like
20 stuff or like what they thought I did and stuff. It kind 20 he's kind of fake like. Because what some of the police
21 of made me stressed. 21 officers do in this town, like they just cover it up with
22 Q. Okay. And at some point in time, did -- did you 22 like him and his dog.
23 see a police officer again at your school? 23 Q. Okay. And when you say that "they just cover it
24 A. No. Not that | remember. 24 up," what do you mean? What are they covering up?

 

Pages 25 to 28

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